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Attorneys at Law

January 6, 2020

Via CM/ECF

Honorable Denis R. Hurley, Senior Judge
United States District Court

Eastern District of New York

Long Island Courthouse

100 Federal Plaza

Central Islip, New York 11722

JOHN M. WELLS

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Re: Bank of America v. Pushing Grey - Official Number 1205748

(Case No. 2:11-cv-01191-DRH-ARL)

Dear Judge Hurley:

I write to object to Defendant Lisi’s filing of a Declaration in Opposition to Plaintiff's
Renewed Motion for Summary Judgment on January 2, 2020. In response to a request for an
extension by Defendant Lisi, the Court by Order dated October 23, 2019 granted Defendant Lisi
until December 2, 2019 to oppose the Plaintiff's Order. See Docket #139. Defendant Lisi did
not. Thereafter, by letter dated December 2, 2019, Defendant Lisi sought another 60 day
extension. The Court denied Defendant Lisi’s request. See Docket #155. Plaintiff respectfully
asserts that Defendant Lisi’s opposition is untimely and should not be considered.

Very truly yours,

   

John MNWells

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CY KATZEN LLP

cc.: Mr. Brandon G. Lisi (via first class mail and U.S. Postal Service Priority Mail)

  

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